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                             UNITED STATES DISTRICT COURT

                                 DISTRICT OF CONNECTICUT

OPEN COMMUNITIES ALLIANCE and                  :
SOUTHCOAST FAIR HOUSING                       :
                                              :
                Plaintiffs,                   :
                                              :
        v.                                    :     Civil No. 3:20CV1587 (JBA)
                                              :
UNITED STATES DEPARTMENT                      :
OF HOUSING AND URBAN                          :
DEVELOPMENT and BEN CARSON, in :
his official capacity as Secretary of Housing :
and Urban Development                         :     January 12, 2021
                                              :
                Defendants.                   :


    CONSENT MOTION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

       Pursuant to D. Conn. L. Civ. R. 7(b), the Defendants, United States Department of

Housing and Urban Development and Ben Carson, in his official capacity as Secretary of

Housing and Urban Development, respectfully requests a 30 day extension of time to file a

response to the Complaint.

       On October 22, 2020, Plaintiffs filed the Complaint, which challenges Defendants’

issuance of a final rule, HUD’s Implementation of the Fair Housing Act’s Disparate Treatment

Standard, 85 Fed. Reg. 60288 (Sept. 24, 2020) (“2020 Rule”), under the Administrative

Procedure Act (“APA”), 5 U.S.C. §§ 701, et seq. Plaintiffs served Defendants with the

Complaint in the instant action on October 26, 2020.

       On October 25, 2020, the United States District Court for the District of Massachusetts

stayed the effective date of the 2020 Rule. Mass. Fair Hous. Ctr. v. United States Dep’t of Hous.
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& Urban Dev., No. CV 20-11765-MGM, 2020 WL 6390143 (D. Mass. Oct. 25, 2020). On

December 23, 2020, the Defendants filed a Notice of Appeal of that decision.

       In light of the posture of the now-stayed 2020 Rule and Defendants’ pending appeal in

Massachusetts Fair Housing Center, Defendants respectfully request a 30 day extension to

respond to Plaintiffs’ Complaint. This is Defendants’ second extension motion in this case.

Defendants conferred with Plaintiffs about this motion pursuant to D. Conn. L. Civ. R. 7(b)(2).

Plaintiffs consent to this motion.



                                                    Respectfully submitted,

                                                    JEFFREY BOSSERT CLARK
                                                    Acting Assistant Attorney General

                                                    LESLEY FARBY
                                                    Assistant Branch Director

                                                    /s/ Brian C. Rosen-Shaud_________
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